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             IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF TEXAS
                     GALVESTON DIVISION


STATE OF TEXAS,
                                            Civ. Action No.
      Plaintiff,

                                            COMPLAINT
v.


XAVIER BECERRA, Secretary of the
United States Department of Health and
Human Services, in his official capacity;
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
the UNITED STATES OF AMERICA,
      Defendants.
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I.      INTRODUCTION

        1.    In the closing days of the Obama Administration, the Department of

Health and Human Services (“HHS”) imposed a new rule on recipients of HHS

awards under Title IV-E of the Social Security Act, 42 U.S.C. §§ 670–679b. That rule

(the “SOGI Rule”) prohibits recipients from discriminating on the basis of “age,

disability, sex, race, color, national origin, religion, gender identity, or sexual

orientation” as well as same-sex marriage status. See 45 C.F.R. § 75.300(c) – (d). The

SOGI Rule applies to the State of Texas and its Department of Family and Protective

Services (“DFPS”) through the administration of the Texas foster care system, which

receives federal funding through HHS.

        2.    In 2019, the State of Texas, DFPS, and the Archdiocese of Galveston-

Houston (collectively, “the Azar Plaintiffs”) challenged the SOGI Rule in this Court

on the grounds that it violated the APA, the Religious Freedom Restoration Act

(“RFRA”), the First Amendment, the Spending Clause, and the Nondelegation

Doctrine. See ECF 1, Complaint, Texas v. Azar, No. 3:19-cv-00365 (S.D. Tex.) (Brown,

J.).

        3.    In response to that lawsuit, HHS moved for dismissal, arguing inter alia

that the case was moot. ECF 22, Azar, No. 3:19-cv-00365. Specifically, HHS argued

that the case was moot because (1) HHS never enforced the SOGI Rule; (2) HHS made

it clear that it would not enforce it; and (2) HHS was attempting to revise it. Id. at 1–

2.




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       4.      HHS relied on the facts that it had (1) published a notification of

nonenforcement in the Federal Register (the “Notice of Nonenforcement”); 1 (2)

published a notice of proposed rulemaking to revise the SOGI Rule (the “NPR”); 2 and

(3) sent a letter to Texas informing it that “RFRA prohibits [the agency] from applying

[the SOGI Rule] to the State of Texas” with respect to religious entities participating

in programs funded by Title IV-E (“the “Texas Letter of Nonenforcement”). 3

       5.      The Azar Plaintiffs countered that the case was not moot because the

HHS’s “revocable notice of temporary non-enforcement” and “‘proposal’ for a new

regulation” did not alter existing federal law and would continue to violate a federal

regulation. Indeed, the Azar Plaintiffs argued that the defendants’ “non-binding

promise to temporarily halt enforcement of a rule until completing a rulemaking that

only may displace parts of the rule” constitutes a “non-binding half-measure[]” that

is “hardly enough to displace the existing (and illegal) federal law in place right now.”

ECF 37, Plaintiffs’ Joint Opposition to Motion to Dismiss at 1, Azar, No. 3:19-cv-

00365 (emphasis in original).

       6.      This Court recognized that “a defendant’s voluntary cessation of a

challenged practice does not deprive a federal court of its power,” while

acknowledging that courts must determine whether a defendant’s actions actually

extinguish the controversy or represent mere litigation posturing. Texas v. Azar, 476


       1  See Notification of Nonenforcement of Health and Human Services Grant Regulation, 84 Fed.
Reg. 63,809, 63,811 (Nov. 19, 2019).
        2 See Office of the Assistant Secretary for Financial Resources, Health and Human Services

Grants Regulation, 84 Fed. Reg. 63,831 (proposed Nov. 19, 2019).
        3 HHS Office of Civil Rights, Letter Re: Application of 45 C.F.R. § 75.300(c) & (d) in Light of

the Religious Freedom Restoration Act (March 5, 2020), https://www.hhs.gov/sites/default/files/
agency-action-ocr-letter-to-txas-re-rfra.pdf (last visited Dec. 11, 2022).


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F. Supp. 3d 570, 575 (S.D. Tex. 2020). And in the context of governmental defendants,

the Court specifically noted that they are “accorded a presumption of good faith

because they are public servants, not self-interested private parties.” Id. (quoting

Moore v. Brown, 868 F.3d 398, 407 (5th Cir. 2017)).

       7.     The Court explained that the voluntary cessation doctrine does not

apply when “a government entity assures a court of continued compliance, and the

court has no reason to doubt the assurance.” Id. at 575–76 (quoting Miraglia v. Bd.

of Supervisors of La. State Museum, 901 F.3d 565, 572 (5th Cir. 2018)).

       8.     Granting this presumption of good faith to HHS based on its

representations, this Court determined that the agency “actually extinguished the

controversy,” making the case moot. Id. at 578 (alterations omitted) (citing Moore,

868 F.3d at 407). In reaching this conclusion, the Court relied on the three actions

that HHS had undertaken. Id. at 576–78.

       9.     The first action on which the Court relied was the Notice of

Nonenforcement, which promised that HHS would not enforce the SOGI rule

“pending repromulgation.” 4 Relatedly, the Court relied on the NPR that was

supposed to revise the challenged provisions in the SOGI Rule. Azar, 476 F. Supp. 3d

at 576.

       10.    The third action the Court relied on was the Texas Letter of

Nonenforcement. Azar, 476 F. Supp. 3d at 576. The Court found that such an explicit




       4 Notification of Nonenforcement of Health and Human Services Grant Regulation, 84 Fed.
Reg. at 63,811 (Nov. 19, 2019).


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concession further supported a finding of mootness and was in line with Fifth Circuit

precedent. Id. at 576–77.

       11.    The Court noted the Azar Plaintiffs’ warning that “HHS could start

enforcing the challenged provisions at any time” if it were not repealed but

determined that there was no reason to doubt HHS’s assurances. See id. at 578–79.

Thus, the Court took HHS’s assurances “as its word,” id., and dismissed the case as

moot, id. at 580.

       12.    But as feared by the Azar Plaintiffs, HHS’s assurances proved

ephemeral. Indeed, HHS’s own actions subsequent to the dismissal have undermined

its assurances given to this Court.

       13.    On November 18, 2021, HHS “rescinded” the exception from

enforcement in the Texas Letter of Nonenforcement, stating that it was “overbroad.” 5

       14.    The NPR also proved to be nothing. At the end of the Trump

Administration, HHS finalized the revisions to the SOGI Rule that it had proposed

in the NPR (the “2021 Final Rule”). 6 Then, as the Azar Plaintiffs feared, the 2021

Final Rule was immediately challenged in a separate lawsuit in the U.S. District

Court for the District of Columbia. Facing Foster Care in Alaska v. HHS, No. 21-cv-

308-JMC (D.D.C.).




       5 HHS Office for Civil Rights, Letter Re: Withdrawal of Exception from Non-Discrimination
Requirements of 45 CFR 75.300(c) & (d) (Nov. 18, 2021), https://www.hhs.gov/conscience/religious-
freedom/state-letter-to-texas-withdrawing-exception-from-non-discrimination-requirements/
index.html (last visited Dec. 11, 2022).
       6 Health and Human Services Grants Regulation, 86 Fed. Reg. 2,257 (Jan. 12, 2021).




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      15.    After the court in that case (with the agency’s agreement) postponed the

effective date of the 2021 Final Rule several times before it was to go into effect, HHS

itself moved that court to vacate the 2021 Final Rule that would have revised the

SOGI Rule. See ECF 41, Defs.’ Mot. for Remand with Vacatur, Facing Foster Care,

No., 21-cv-308-JMC (D.D.C.). With HHS’s motion unopposed, the court vacated the

2021 Final Rule. See ECF 44, June 29, 2022 Order, Facing Foster Care, 21-cv-308-

JMC (D.D.C.).

      16.    This voluntary vacatur meant that the SOGI Rule was not revised as

proposed, and the only real assurance remaining was the Notice of Nonenforcement,

which had only said that the SOGI Rule would not be enforced “pending

repromulgation.”

      17.    But even that assurance is now threatened in other litigation. The

Notice of Nonenforcement is being challenged in the United States District Court for

the Southern District of New York. See Family Equality v. Becerra, No. 1:20-CV-2403

(MKV), 2022 WL 956256 (S.D.N.Y. Mar. 30, 2022). The plaintiffs there allege that the

Notice of Nonenforcement: (1) “‘guts’ the policy of non-discrimination from the [SOGI

Rule];” (2) constitutes “a substantive, binding rule within the meaning of the APA,”

requiring notice-and-comment rulemaking; and (3) rises to the level of “arbitrary and

capricious” decisionmaking. Id. at *1.

      18.    The Southern District of New York dismissed that case for lack of

standing and thus did not address these arguments. See id. at *4–6. But the plaintiffs

have appealed the district court’s judgment to the U.S. Court of Appeals for the



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Second Circuit. See Brief for Plaintiffs-Appellants, Family Equality v. Becerra, No.

22-1174 (2d Cir. filed Aug. 26, 2022), 2022 WL 3911050. And regardless of the result

of the litigation in that case, the Notice of Nonenforcement will remain vulnerable to

litigation in other fora. The Biden Administration’s actions regarding the litigation

against the 2021 Final Rule does not inspire confidence in a robust defense of the

Notice of Nonenforcement in any such litigation

        19.   Even were the Notice of Nonenforcement to remain in effect, this Court

declined to rely on it in isolation to support dismissal, instead explaining that “[t]o

the extent that one of HHS’s statements of nonenforcement does not do away with

the plaintiffs’ concerns, the other covers up its sins.” Azar, 476 F. Supp. 3d at 577. As

this situation of mutually reinforcing actions no longer exists, the case is no longer

moot.

        20.   Accordingly, the same assurances by HHS that provided the

underpinnings for this Court’s dismissal in Azar no longer control.

        21.   Given this change in circumstances, Texas files this lawsuit to defend

the interests of the State, DFPS, and the vulnerable children in its care.

        22.   Texas and DFPS do not violate the SOGI Rule. They serve all foster

children and are willing to work with all potential foster parents.

        23.   But to better help foster children, DFPS partners with numerous and

diverse child placing agencies. Some of those agencies have sincerely held religious

beliefs that would prevent them from following the SOGI Rule. Texas children, and

DFPS, benefit greatly from the work done by those child placing agencies. If the SOGI



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Rule forbids Texas and DFPS from working with these agencies, foster children will

suffer.

          24.   If the SOGI Rule prohibits Texas from working with child placing

agencies that object to the Rule, then Texas and DFPS will have to either forgo federal

funding or cease working with those agencies. In either case, Plaintiff—but more

importantly, Texas foster children—will be harmed.

          25.   This Court should enter a declaratory judgment that Texas and DFPS

do not violate the SOGI Rule by working with religious social services providers to

better serve foster children. By its terms, the SOGI Rule is limited to recipients, like

DFPS. It does not extend to contractors, like religiously motivated child placing

agencies.

          26.   But if the Court concludes the SOGI Rule does apply to child placing

agencies, it should set the SOGI Rule aside as unlawful. Applied in that way, the

SOGI Rule would violate the Administrative Procedure Act.

          27.   HHS is required by statute to fund state plans that satisfy the statutory

criteria set by Congress. But in the SOGI Rule, HHS claimed the power to deny

federal funding based on criteria not found in the statute. Moreover, the SOGI Rule

is inconsistent with the carefully crafted—and more limited—anti-discrimination

rules that Congress specifically designed to govern the conduct of programs funded

by Title IV-E of the Social Security Act, 42 U.S.C. §§ 670-679c.




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      28.    In addition, HHS promulgated the SOGI Rule under 5 U.S.C. § 301,

a federal housekeeping statute that does not authorize substantive regulations like

the SOGI Rule.

      29.    Even if HHS otherwise had the power to promulgate the SOGI Rule, it

would still be unlawful because HHS acted arbitrarily and capriciously. HHS

exempted Title IV-A funds from the SOGI Rule because Title IV-A contains a

statutory anti-discrimination provision. But HHS did not exempt Title IV-E, which

governs foster care, even though it also contains a statutory anti-discrimination

provision. HHS did not recognize, much less explain, this apparent inconsistency.

      30.    Moreover, HHS failed to consider either the best interests of foster

children or the religious-liberty interests of child placing agencies. No rule governing

foster care should be enacted without careful analysis of whether it will help or hurt

foster children. And no rule burdening the ability of religious individuals and

organizations to live out their faith should be enacted without serious examination of

the religious-liberty implications. By failing to even consider those factors, HHS

acted arbitrarily and capriciously.

      31.    The SOGI Rule further runs afoul of the Spending Clause. Absent a

separate constitutional limitation, Congress is empowered to condition federal

funding for the general welfare when it makes the conditions clear and non-coercive.

But Congress has not done that here. Instead, HHS has promulgated a coercive rule

that undermines the general welfare and that is completely divorced from any

statutory funding conditions.



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II.    PARTIES

       32.   Plaintiff the State of Texas is a free and independent State, subject only

to the Constitution of the United States. Tex. Const. art. I, § 1. Texas has the

authority and responsibility to protect the health, safety, and welfare of its

residents. See, e.g., Texas v. Richards, 301 S.W.2d 597, 602 (Tex. 1957) (“As a general

rule the [police] power is commensurate with, but does not exceed, the duty to provide

for the real needs of the people in their health, safety, comfort and convenience”);

Lombardo v. City of Dallas, 73 S.W.2d 475, 479 (Tex. 1934) (“[T]he police power of a

state embraces regulations designed to promote the public health, the public morals,

or the public safety.”). This includes the authority to protect and, when necessary,

care for the children of Texas. See Tex. Fam. Code § 262.001 et seq.

       33.   Defendants are an appointed official of the United States government, a

United States governmental agency responsible for the issuance and implementation

of the challenged regulation, and the United States.

       34.   Defendant Xavier Becerra is the Secretary of the United States

Department of Health and Human Services. He is sued in his official capacity only.

       35.   Defendant HHS is the agency that promulgated and now enforces the

challenged regulation.

       36.   Defendant the United States of America is sued under 5 U.S.C. §§ 702–

703 and 28 U.S.C. § 1346.




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III.    JURISDICTION AND VENUE

        37.   The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1346, 1361 and 5 U.S.C. §§ 702–703.

        38.   The Court is authorized to award the requested declaratory relief under

5 U.S.C. § 706 and 28 U.S.C. §§§ 2201–2202.

        39.   The Court is authorized to award injunctive relief under 28 U.S.C.

§ 1361.

        40.   Venue lies in this district pursuant to 28 U.S.C. § 1391.

IV.     FACTUAL BACKGROUND

        A. Foster Care in Texas

        41.   DFPS administers Texas’s foster care system to care for children who

cannot live safely at home.

        42.   If a child in Texas is in that situation, DFPS tries to identify relatives

or friends who are willing and able to care for that child.

        43.   If DFPS cannot find an appropriate relative or friend, however, the child

will be placed in foster care. A child in foster care might live in a foster family home,

a foster family group home, a residential group care facility, or a facility overseen by

another state agency.

        44.   DFPS spends approximately $550 million per year on residential

childcare as part of Texas’s foster care system. Almost 23 percent of that money is

federally funded pursuant to Title IV-E. In addition, DFPS receives approximately

$58 million per year in Title IV-E funding to support casework services for children

in foster care.


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       45.    Foster care is changing in Texas. DFPS is transitioning from a legacy

system to a new Community-Based Care (“CBC”) system.

       46.    In the legacy system, DFPS contracted directly with child placing

agencies, which often found homes for children in foster care.

       47.    In the new CBC system, DFPS contracts with a Single Source

Continuum Contractor (“SSCC”) in each of several geographic service areas. The

SSCC is responsible for finding foster homes or other living arrangements for foster

children in its geographic service area.

       48.    An SSCC will often rely on child placing agencies to find homes for

children in its area.

       49.    Properly addressing foster care in Texas requires the help of many child

placing agencies. Having a diverse network of child placing agencies helps DFPS

fulfill its foster care mission.

       50.    Texas has taken steps to ensure it can contract with many different child

placing agencies which hold varying views on religion, sexual orientation, gender

identity, and same-sex marriage status. DFPS works with both secular and faith-

based organizations to find loving homes for children.

       51.    One such step was passing H.B. 3859, which is codified in Chapter 45 of

the Texas Human Resources Code. H.B. 3859, which was enacted in 2017, explains

the Legislature’s intent:

       It is the intent of the legislature to maintain a diverse network of service
       providers that offer a range of foster capacity options and that
       accommodate children from various cultural backgrounds. To that end,
       the legislature expects reasonable accommodations to be made by the


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      state to allow people of diverse backgrounds and beliefs to be a part of
      meeting the needs of children in the child welfare system.

Tex. Hum. Res. Code § 45.001.

      52.    H.B. 3859 furthers that intent by ensuring that more child welfare

service providers, including child placing agencies, can operate in Texas:

      A governmental entity or any person that contracts with this state or
      operates under governmental authority to refer or place children for
      child welfare services may not discriminate or take any adverse action
      against a child welfare services provider on the basis, wholly or partly,
      that the provider:

      (1) has declined or will decline to provide, facilitate, or refer a person
      for child welfare services that conflict with, or under circumstances that
      conflict with, the provider’s sincerely held religious beliefs; …

Tex. Hum. Res. Code § 45.004.

      53.    By increasing participation, H.B. 3859 furthers the best interests of

foster children in Texas.

      54.    H.B. 3859 also ensures that those individuals who do not want to, or

cannot, work with religious child placing agencies have other options. “A child

welfare services provider who declines to provide a child welfare service as authorized

by” H.B. 3859 is obligated to provide the person seeking the service with information

about other service providers. Tex. Hum. Res. Code § 45.005(c).

      55.    This is consistent with Defendants’ encouragement of “the diligent

recruitment of potential foster and adoptive families that reflect the ethnic and

racial diversity of children in the State for whom foster and adoptive homes

are needed.” 42 U.S.C. § 622(b)(7); see also 45 C.F.R. § 1355.34(b)(2)(ii)(C).




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       56.    Elsewhere in the Code of Federal Regulations, HHS explains that

       Faith-based or religious organizations are eligible, on the same basis as
       any other organization, to participate in any HHS awarding agency
       program for which they are otherwise eligible. Neither the HHS
       awarding agency, nor any State or local government and other pass-
       through entity receiving funds under any HHS awarding agency
       program shall, in the selection of service providers, discriminate for or
       against an organization on the basis of the organization’s religious
       character or affiliation.

45 C.F.R. § 87.3(a). Faith-based or religious organizations are similarly eligible for

DFPS programs.

       57.    Several faith-based providers receive Title IV-E funding through Texas

DFPS to provide their services. Some of these providers require potential foster care

or adoptive parents to share a religious faith or agree to the provider’s statement of

faith. Some have particular religious views on marriage, gender identity, and sexual

orientation. But none of them should be required to forfeit their beliefs as a condition

of helping Texas’s most vulnerable children. 7

       58.    If the SOGI Rule applies to these faith-based organizations, then it

requires them to abandon their core religious beliefs as a condition of receiving Title

IV-E funding, contrary to Texas law.

       B. Federal Funding for Foster Care

       59.    Federal funding for foster care is governed by Title IV-E of the Social

Security Act, which is codified at 42 U.S.C. §§ 670–679c. Title IV-E provides grants




        7 A     list   of    these  providers    is    located on the    DFPS     website.   See
http://www.dfps.state.tx.us/Adoption_and_Foster_Care/Adoption_Partners/private.asp (last visited
Dec. 9, 2022). The particular requirements of each provider may be determined by clicking on a
provider’s name and accessing that provider’s website.


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to States for foster care, transitional independent living programs, adoption

assistance, and kinship guardianship assistance, among other things. 42 U.S.C.

§ 670. Title IV-E operates through “the conditional grant of federal funds.” South

Dakota v. Dole, 483 U.S. 203, 207 (1987).

      60.    HHS administers Title IV-E at the federal level. DFPS administers Title

IV-E grants at the state level.

      61.    To be eligible for payment under Title IV-E, a State must submit a plan

for approval by the Secretary of HHS. See 42 U.S.C. § 671(a).

      62.    Title IV-E lists requirements for State plans in 42 U.S.C. § 671(a).

      63.    The Secretary must approve any State plan that complies with section

671(a). The Secretary does not have discretion to deny approval of any State plan that

complies with § 671(a). Id. § 671(b) (“The Secretary shall approve any plan which

complies with the provisions of subsection (a) of this section.”); Nat’l Ass’n of Home

Builders v. Defs. of Wildlife, 551 U.S. 644, 661 (2007) (explaining that a statutory

directive that an agency “shall approve” a state submission upon certain conditions

“is mandatory” if the conditions are met and there is no contrary statute); Luminant

Generation Co. v. EPA, 675 F.3d 917, 926 (5th Cir. 2012).

      64.    HHS must make payments to States with approved plans. HHS does

not have discretion to deny payments to States with approved plans. See 42 U.S.C.

§ 674(a) (“For each quarter beginning after September 30, 1980, each State which has

a plan approved under this part shall be entitled to a payment”).




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       65.    Under this system, Congress can create incentives for States by

adjusting the plan requirements in section 671(a). At the same time, Congress limits

the Secretary’s ability to create incentives for States by requiring the Secretary to

approve plans and make payments when a State satisfies section 671(a).

       C. Statutory Anti-Discrimination Requirements in Title
          IV-E of the Social Security Act

       66.    Title IV-E contains an express anti-discrimination provision. It requires

state plans to prohibit discrimination on the basis of “race, color, or national origin”:

       In order for a State to be eligible for payments under this part, it shall
       have a plan approved by the Secretary which— … (18) not later than
       January 1, 1997, provides that neither the State nor any other entity in
       the State that receives funds from the Federal Government and is
       involved in adoption or foster care placements may—(A) deny to any
       person the opportunity to become an adoptive or a foster parent, on the
       basis of the race, color, or national origin of the person, or of the child,
       involved; or (B) delay or deny the placement of a child for adoption or
       into foster care, on the basis of the race, color, or national origin of the
       adoptive or foster parent, or the child, involved.

42 U.S.C. § 671(a).

       67.    Title IV-E also contains an express anti-discrimination provision

concerning out-of-jurisdiction adoptions:

       In order for a State to be eligible for payments under this part, it shall
       have a plan approved by the Secretary which— … (23) provides that the
       State shall not—(A) deny or delay the placement of a child for adoption
       when an approved family is available outside of the jurisdiction with
       responsibility for handling the case of the child.

42 U.S.C. § 671(a)(23).

       68.    The scope of Title IV-E’s anti-discrimination provisions reflects

Congress’s deliberate choice. It differs from a similar anti-discrimination provision

in Title IV-A, which prohibits different kinds of discrimination, including age and


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disability discrimination. 42 U.S.C. § 608(d); see also 42 U.S.C. § 603(a)(5)(I)(iii)

(prohibiting sex discrimination in some contexts).

       69.     To enforce Title IV-E’s anti-discrimination provisions, Congress created

a detailed remedial scheme. 42 U.S.C. § 674(d).

       70.     If a State violates the statutory anti-discrimination requirements, HHS

reduces the State’s funding for that fiscal quarter. That funding is reduced by

amounts that vary from 2 percent to 5 percent, depending on the number of violations

in that fiscal year. Id. § 674(d)(1)(A)–(C). This provision reflects Congress’s

determination about the appropriate incentives to give States. Cf. Dole, 483 U.S. at

211 (finding conditional spending legislation not coercive because “all [the State]

would lose … is 5% of the funds otherwise obtainable under specified highway grant

programs”).

       71.     A non-State entity that violates the statutory anti-discrimination

requirements must return all of the state funding it received that quarter. 42 U.S.C.

§ 674(d)(2).

       72.     Both States and non-State entities can face private lawsuits from

individuals “aggrieved by a violation of” the statutory anti-discrimination provision

concerning race, color, or national origin. 42 U.S.C. § 674(d)(3).

       73.     The scope of these enforcement provisions reflects Congress’s deliberate

choice. Congress could have chosen to enforce anti-discrimination requirements in a

different way, but it did not.




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      D. Adoption of the SOGI Rule

      74.    On July 13, 2016, HHS proposed the SOGI Rule, which would add

regulatory anti-discrimination requirements on top of those Congress has provided

by statute. 81 Fed. Reg. 45,270.

      75.    Specifically, HHS proposed to add two new paragraphs to 45 C.F.R.

section 75.300:

      (c)    It is a public policy requirement of HHS that no person otherwise
      eligible will be excluded from participation in, denied the benefits of, or
      subjected to discrimination in the administration of HHS programs and
      services based on non-merit factors such as age, disability, sex, race,
      color, national origin, religion, gender identity, or sexual orientation.
      Recipients must comply with this public policy requirement in the
      administration of programs supported by HHS awards.

      (d)   In accordance with the Supreme Court decisions in United States
      v. Windsor and in Obergefell v. Hodges, all recipients must treat as valid
      the marriages of same-sex couples. This does not apply to registered
      domestic partnerships, civil unions or similar formal relationships
      recognized under state law as something other than a marriage.

      76.    HHS claimed that these changes were “based on existing law or HHS

policy” but acknowledged they “were not previously codified in regulation.” 81 Fed.

Reg. 45,270. HHS professed a belief that the changes were “non-controversial.” 81

Fed. Reg. 45,271.

      77.    The SOGI Rule was published as final on December 12, 2016. 81 Fed.

Reg. 89,393. It remains in effect today.

      78.    The SOGI Rule does not contain any exception for religiously motivated

individuals or entities.




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      79.    In promulgating the SOGI Rule, HHS relied on only one statute for

authority: 5 U.S.C. § 301. See 81 Fed. Reg. 89,395 (“The authority citation for 45 CFR

part 75 continues to read as follows: Authority: 5 U.S.C. 301.”); 81 Fed. Reg. 45,272

(same).

      80.    Section 301 provides:

      The head of an Executive department or military department may
      prescribe regulations for the government of his department, the conduct
      of its employees, the distribution and performance of its business, and
      the custody, use, and preservation of its records, papers, and property.
      This section does not authorize withholding information from the public
      or limiting the availability of records to the public.

5 U.S.C. § 301.

      81.    The Supreme Court has called section 301 a “housekeeping statute”

because it authorizes agencies “to regulate [their] own affairs.” Chrysler Corp. v.

Brown, 441 U.S. 281, 309 (1979).

      82.    The Housekeeping Statute applies to many different federal agencies.

It “is not a statute that [HHS] is charged with administering.” Metro. Stevedore Co.

v. Rambo, 521 U.S. 121, 137 n.9 (1997); see also Collins v. NTSB, 351 F.3d 1246, 1253

(D.C. Cir. 2003) (“For generic statutes like the APA, FOIA, and FACA, the broadly

sprawling applicability undermines any basis for deference, and courts must

therefore review interpretative questions de novo.”).

      83.    HHS did not propose to apply the SOGI Rule to the Temporary

Assistance for Needy Families Program (“TANF”), a program governed by Title IV-A.

HHS noted that “[t]he TANF statute, 42 U.S.C. 608(d), already identifies the

nondiscrimination provisions that can be applied to TANF.” 81 Fed. Reg. 45,271. The



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TANF statute specifies that “any program or activity which receives [TANF] funds”

must comply with specified federal anti-discrimination statutes. 42 U.S.C. § 608(d).

Those statutes prohibit discrimination on the basis of race, color, national origin, age,

and disability. They do not prohibit other types of discrimination covered by the SOGI

Rule.

        E. The SOGI Rule Does Not Apply to Child Placing Agencies
           in Texas

        84.    By its terms, the SOGI Rule applies only to “[r]ecipients,” like DFPS. 45

C.F.R. § 75.300(c). It does not apply to entities that receive funding from DFPS. See

45 C.F.R. § 75.2 (defining “recipients” to exclude “subrecipients”).

        85.    In both the legacy system and the CBC system, child placing agencies

are not recipients.

        86.    The SOGI Rule does not “flow down” to subrecipients because the SOGI

Rule itself specifically indicates that its application is limited to recipients. 45 C.F.R.

§ 75.101(b)(1).

        87.    But even if the SOGI Rule did apply to subrecipients, it would not apply

to contractors. No regulation suggests the SOGI Rule would apply to DFPS’s

contractors.

        88.    In fact, federal regulations provide that the SOGI Rule does not apply

to HHS’s contractors. See 45 C.F.R. § 75.101(b)(1) (table) (showing “Subparts C-D,

except for §§ 75.202, 75.303, 75.351-.353” “[a]re NOT applicable to” “[p]rocurement

contracts”). Because the SOGI Rule does not apply to HHS’s contractors, it should

not, and does not, apply to a recipient’s or subrecipient’s contractors, either.


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      89.    In both the legacy system and the CBC system in Texas, child placing

agencies are contractors, not recipients or subrecipients.

      90.    In the legacy system, DFPS uses procurement contracts to procure the

services of child placing agencies.

      91.    DFPS’s use of procurement contracts is consistent with 45 C.F.R.

§ 75.201(a): “The HHS awarding agency or pass-through entity must decide on the

appropriate instrument for the Federal award (i.e., grant agreement, cooperative

agreement, or contract) in accordance with the Federal Grant and Cooperative

Agreement Act (31 U.S.C. § 6301–08).”

      92.    The Federal Grant and Cooperative Agreement Act requires federal

executive agencies to

      use a procurement contract as the legal instrument reflecting a
      relationship between the United States Government and a State, a local
      government, or other recipient when—(1) the principal purpose of the
      instrument is to acquire (by purchase, lease, or barter) property or
      services for the direct benefit or use of the United States Government; or
      (2) the agency decides in a specific instance that the use of a
      procurement contract is appropriate.

31 U.S.C. § 6303.

      93.    The principal purpose of the procurement contracts between DFPS and

child placing agencies is for DFPS to acquire the services of those agencies for DFPS’s

direct benefit or use. DFPS partners with child placing agencies to provide care and

services to children in need. DFPS views the children in its care as the beneficiaries

of its services. To that end, its funding is understood to benefit them.

      94.    DFPS decided that a procurement contract is an appropriate instrument

for reflecting its relationship with a child placing agency.

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      95.    In the new CBC system, DFPS issues a sub-award to CBCs, and CBCs

use procurement contracts to procure the services of child placing agencies.

      96.    This use of procurement contracts also is consistent with the Federal

Grant and Cooperative Agreement Act.

      97.    For Texas, the principal purpose of the procurement contracts between

CBCs and child placing agencies is to acquire the services of those agencies for DFPS’s

and the CBCs’ direct benefit or use. That allows DFPS and the CBCs to better serve

children in foster care.

      98.    DFPS and the CBCs decided that a procurement contract is an

appropriate instrument for reflecting their relationship with child placing agencies.

      99.    In neither the legacy system nor the CBC system would the use of grant

agreements or cooperative agreements be required to reflect the status of child

placing agencies. The principal purpose of the relationship with child placing

agencies is not “to transfer a thing of value to the [child placing agencies] to carry out

a public purpose of support or stimulation”; it is to “acquir[e] … property or services.”

31 U.S.C. §§ 6304(1), 6305(1).

      F. If Plaintiff Were Found to Have Violated the SOGI Rule,
         It Would Lose Significant Funding

      100.   Even though Plaintiff believes, based on its good-faith interpretation of

the relevant law, it is not violating the SOGI Rule, it still faces a serious threat that

the SOGI Rule will be enforced against it because its intended future conduct is

“arguably … proscribed by [the policy in question].” Speech First, Inc. v. Fenves, 979




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F.3d 319, 330 (5th Cir. 2020) (quoting Susan B. Anthony List v. Driehaus, 573 U.S.

149, 162–64 (2014)) (emphasis added; alterations in original).

       101.   The existence of the SOGI Rule implies a threat of enforcement. See Bell

v. Keating, 697 F.3d 445, 451 (7th Cir. 2012) (“The existence of the statute constitutes

the government’s commitment to prosecute in accordance with it and, thus, a concrete

prospect of future harm for one who would flout it.”).

       102.   The federal government publishes guidance regarding the audit

procedures applicable to Title IV-E programs. In a section entitled “Compliance

Requirements,” it provides: “Both States and tribes are subject to the requirements

of 2 CFR part 200, subpart E, as implemented by HHS at 45 CFR part 75.”               8   As a

result, it is likely that Defendants will consider compliance with Part 75 during future

audits. The SOGI Rule is contained in Part 75. See 45 C.F.R. § 75.300.

       103.   The Western District of Michigan preliminarily enjoined Defendants

from enforcing the SOGI Rule after it found the threat of enforcement to be sufficiently

credible. See Buck v. Gordon, 429 F. Supp. 3d 447, 466 (W.D. Mich. 2019) (noting

“concern that [Michigan] will lose all federal funding for foster and adoption services

if the federal government enforces § 75.300(c)” and that “[t]he federal government

has not denied that risk”).

       104.   Plaintiff faces a credible threat of future enforcement.




       8Office of Management and Budget, 2 CFR Part 200, Appendix XI Compliance Supplement,
at  4-93.658-7     (April 2022),  https://www.whitehouse.gov/wp-content/uploads/2022/05/2022-
Compliance-Supplement_PDF_Rev_05.11.22.pdf (last visited Dec. 9, 2022).


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       105.   If Defendants determine that Plaintiff has violated the SOGI Rule, they

will reduce or eliminate Plaintiff’s Title IV-E funding. See 45 C.F.R. § 75.371 (listing

remedies for non-compliance with “the terms and conditions of a Federal award”); see

also id. § 75.300(a) (“The Federal awarding agency must communicate to the non-

Federal entity all relevant public policy requirements, including those in general

appropriations provisions, and incorporate them either directly or by reference in the

terms and conditions of the Federal award.”); id. § 75.210(b)(1) (“HHS awarding

agencies must incorporate the following general terms and conditions either in the

Federal award or by reference, as applicable: … (ii) National policy requirements.”).

       106.   Plaintiff faces serious injuries. It must either risk losing critical funding

or refuse to work with child placing agencies that do not comply with the SOGI Rule.

Either a loss of funding or a loss of non-compliant child placing agencies would make

it more difficult to care for Texas’s foster children. In either event, children in foster

care would suffer needlessly.

       107.   Moreover, the SOGI Rule deters child placing agencies from working

with DFPS. The SOGI Rule is deterring some religious organizations from providing

foster care services with the State of Texas. As a result, there are fewer child placing

agencies serving children in foster care. That harms both foster children and

Plaintiff.

       108.   States “are entitled to ‘special solicitude’ in [the court’s] standing”

analysis. Texas v. United States, 809 F.3d 134, 151 (5th Cir. 2015), aff’d, 136 S. Ct.




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2271 (2016). And threatened loss of federal funds is sufficient injury to satisfy Article

III. Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2565 (2019).

V.       CLAIMS

                                     COUNT I
                      42 U.S.C. §§ 670-679c; 45 C.F.R. § 75.300
                             Declaratory Judgment

         109.   Plaintiff incorporates by reference all other paragraphs.

         110.   The SOGI Rule, 45 C.F.R. § 75.300(c)–(d), which is promulgated under

Title IV-E of the Social Security Act, 42 U.S.C. §§ 670–679c, does not regulate the

conduct of the contractors who serve—or would serve—as child placing agencies in

Texas.

         111.   The SOGI Rule does not prohibit Texas from contracting with child

placing agencies that do not comply with the SOGI Rule.

         112.   The Court should declare that the Texas foster care system does not

violate the SOGI Rule.

                                  COUNT II
                Violation of the Administrative Procedure Act
                 Agency Action Not in Accordance with Law

         113.   Plaintiff incorporates by reference all other paragraphs.

         114.   The SOGI Rule is not in accordance with law because it contradicts and

undermines the statutes governing Title IV-E funding.

         115.   By passing statutory anti-discrimination requirements applicable to

Title IV-E funding, Congress carefully considered and adopted the protections it

deemed necessary and appropriate in this context. Congress did not leave this issue

open to regulatory amendment, nor create a gap for HHS to fill. HHS does not have


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discretion to impose additional anti-discrimination requirements, like the SOGI Rule,

through regulation under the Housekeeping Statute—and any other statute could not

authorize the SOGI Rule. See SEC v. Chenery Corp., 318 U.S. 80, 87 (1943) (“The

grounds upon which an administrative order must be judged are those upon which

the record discloses that its action was based.”).

      116.   The SOGI Rule contradicts and undermines Title IV-E by deviating from

the anti-discrimination requirements found in the statute and by changing the way

anti-discrimination requirements are enforced, regardless of whether they are found

in the statute.

      117.   Moreover, withholding Title IV-E funds based on the SOGI Rule would

be inconsistent with the statutes requiring Defendants to make Title IV-E payments

to States with approved plans.

      118.   Congress gave the Secretary a mandatory duty to approve plans that

comply with the statutory criteria, including the statutory anti-discrimination

requirements.

      119.   Congress gave the Secretary a mandatory duty to make payments to

States with approved plans.

      120.   For HHS to withhold Title IV-E funding for reasons not grounded in a

federal statute—including for failure to comply with the SOGI Rule—would violate

Title IV-E. In that situation, the Secretary would have violated his mandatory duties.




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       121.   Even if the general housekeeping statute otherwise authorized the

promulgation of regulations like the SOGI Rule, it does not do so here because that

would override the specific statutory framework provided in Title IV-E. See Schism

v. United States, 316 F.3d 1259, 1280 (Fed. Cir. 2002) (“A reasonable lawyer advising

the Secretary of Defense or any of the service secretaries at the time could not have

claimed that § 301 created the right to make promises of lifetime health care (beyond

space available care) because there were other statutes controlling retiree care at the

time.”).

       122.   Plaintiff has no adequate or available administrative remedy, or, in the

alternative, any effort to obtain an administrative remedy would be futile.

       123.   Plaintiff has no adequate remedy at law.

       124.   Absent injunctive, declaratory, and vacation relief against the SOGI

Rule, Plaintiff has been and will continue to be harmed.

                          COUNT III
        Violation of the Administrative Procedure Act
Agency Action in Excess of Statutory Authority and Limitations

       125.   Plaintiff incorporates by reference all other paragraphs.

       126.   The SOGI Rule is not in accordance with law because it exceeds HHS’s

power under the Housekeeping Statute.

       127.   “[A]n agency literally has no power to act … unless and until Congress

confers power upon it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986). “It

is axiomatic that an administrative agency’s power to promulgate legislative

regulations is limited to the authority delegated by Congress.” Bowen v. Georgetown

Univ. Hosp., 488 U.S. 204, 208 (1988).

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      128.   HHS asserted only one statutory basis for the SOGI Rule: the

Housekeeping Statute, 5 U.S.C. § 301. See 81 Fed. Reg. 89,395.

      129.   But that provision did not authorize HHS to promulgate the SOGI Rule.

      130.   The Housekeeping Statute is “simply a grant of authority to the agency

to regulate its own affairs.” Chrysler Corp. v. Brown, 441 U.S. 281, 309 (1979). “It is

indeed a ‘housekeeping statute,’ authorizing what the APA terms ‘rules of agency

organization[,] procedure[,] or practice’ as opposed to ‘substantive rules.’” Id. at 310

(quoting 5 U.S.C. § 553).

      131.   The SOGI Rule is a substantive rule because it “affect[s] individual

rights and obligations.” Id. at 302 (quotation omitted). By conditioning grant funding

on compliance with the SOGI Rule, HHS promulgated a rule in which “the rights of

individuals are affected.” Mass. Fair Share v. Law Enforcement Assistance Admin.,

758 F.2d708, 711–12 (D.C. Cir. 1985) (quotation omitted) (holding that the rights of

individuals are affected by “procedures for treatment of applications for grants under

the Urban Crime Prevention Program”).

      132.   Under “the substantial impact test,” the SOGI Rule is substantive

because it requires Texas to choose between losing significant federal funding and

changing its foster care policy. Texas v. United States, 809 F.3d 134, 176 (5th Cir.

2015) (holding that DAPA was substantive because it “force[d] the state to choose

between spending millions of dollars to subsidize driver’s licenses and changing its

law”); Texas v. United States, 787 F.3d 733, 765–66 (5th Cir. 2015) (same).




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      133.   The SOGI Rule is a substantive rule because it affects eligibility for

federal funding. See Nat’l Ass’n of Home Health Agencies v. Schweiker, 690 F.2d 932,

949 (D.C. Cir. 1982) (holding a rule affecting the process home health agencies used

to secure Medicare reimbursement was substantive, not procedural). It “change[s]

the substantive standards by which the [agency] evaluates applications which seek a

benefit that the agency has the power to provide.” Texas, 809 F.3d at 176–77; see also

Texas v. United States, 50 F.4th 498, 524 (5th Cir. 2022); Texas v. United States, 328

F. Supp. 3d 662, 729 (S.D. Tex. 2018); La Union del Pueblo Entero v. FEMA, 141 F.

Supp. 3d 681, 710 (S.D. Tex. 2015).

      134.   The SOGI Rule is a substantive rule because it “encodes a substantive

value judgment or puts a stamp of approval or disapproval on a given type of

behavior.” Am. Hosp. Ass’n v. Bowen, 834 F.2d 1037, 1047 (D.C. Cir. 1987).

      135.   HHS promulgated the SOGI Rule through notice-and-comment

rulemaking, which is required for a substantive rule but not for “rules of agency

organization, procedure, or practice.” 5 U.S.C. § 553(b).

      136.   Moreover, the major policy change HHS seeks to implement through the

SOGI Rule is not one that Congress authorized to be advanced through the

Housekeeping Statute. Congress “does not, one might say, hide elephants in

mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001). In light of

the significant policy debates concerning issues addressed in the SOGI Rule, it is

particularly implausible to say Congress authorized HHS to control States’ policies

regarding those issues in the Housekeeping Statute. See Gonzales v. Oregon, 546



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U.S. 243, 267 (2006) (“The importance of the issue of physician-assisted suicide, which

has been the subject of an ‘earnest and profound debate’ across the country, makes

the oblique form of the claimed delegation all the more suspect.”). In passing the

Housekeeping Statute, Congress did not authorize the SOGI Rule.

      137.   The SOGI Rule implicates major questions that Congress would

not — and did not—delegate to HHS in the Housekeeping Statute. Under the major-

questions doctrine, the Court should not “conclud[e] that Congress … intended such

an implicit delegation.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120,

159 (2000). The doctrine provides that when an agency seeks to resolve a major

question, a “merely plausible textual basis for the agency action” is not enough. West

Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022). “The agency instead must point to ‘clear

congressional authorization’ for the power it claims.’’ Id. (quoting Utility Air Reg. Grp.

v. EPA, 573 U.S. 302, 324 (2014)). HHS cannot do so here.

      138.   Plaintiff has no adequate or available administrative remedy, or, in the

alternative, any effort to obtain an administrative remedy would be futile.

      139.   Plaintiff has no adequate remedy at law.

      140.   Absent injunctive, declaratory, and vacation relief against the SOGI

Rule, Plaintiff has been and will continue to be harmed.

                               COUNT IV
             Violation of the Administrative Procedure Act
               Arbitrary and Capricious Agency Action

      141.   Plaintiff incorporates by reference all other paragraphs.

      142.   The APA prohibits agency actions that are “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

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      143.   HHS declined to extend the SOGI Rule to Title IV-A funding because

“[t]he TANF statute, 42 U.S.C. § 608(d), already identifies the nondiscrimination

provisions that can be applied to TANF.” 81 Fed. Reg. 45,271. Because Title IV-A’s

anti-discrimination requirement and the SOGI Rule differ in scope, 42 U.S.C.

§ 608(d), HHS concluded the SOGI Rule should not apply to Title IV-A funding. 81

Fed. Reg. 45,271. See also 45 C.F.R. § 75.101(f) (“Section 75.300(c) does not apply to

the Temporary Assistance for Needy Families Program (title IV-A of the Social

Security Act, 42 U.S.C. § 601–619).”).

      144.   HHS’s only explanation for not extending the SOGI Rule to Title IV-A

funding applies equally to Title IV-E funding. Like Title IV-A, Title IV-E contains

express anti-discrimination provisions. And like the Title IV-A provisions, the Title

IV-E provisions do not cover religion, sexual orientation, gender identity, or same-sex

marriage status.

      145.   But HHS failed to apply the same logic to Title IV-E funding.

      146.   HHS did not provide any reason for treating Title IV-E funding

differently from Title IV-A funding. Cf. Portland Cement Ass’n v. EPA, 665 F.3d 177,

187 (D.C. Cir. 2011) (“an agency must have a similar obligation to acknowledge and

account for a changed regulatory posture the agency creates—especially when the

change impacts a contemporaneous and closely related rulemaking”); Office of

Commc’n of the United Church of Christ v. FCC, 707 F.2d 1413, 1441–42 (D.C. Cir.

1983) (finding it “seriously disturbing” and “almost beyond belief” that an agency




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would take rulemaking action undercutting another “concurrent” rulemaking

process).

      147.   Such “[i]llogic and internal inconsistency are characteristic of arbitrary

and unreasonable agency action.” Chamber of Commerce v. Dep’t of Labor, 885 F.3d

360, 382 (5th Cir. 2018). HHS’s action is “paradoxical” in a way that “signals

arbitrary and capricious agency action.” Sw. Elec. Power Co. v. EPA, 920 F.3d 999,

1016 (5th Cir. 2019).

      148.   Even if there were some avenue to explain or justify HHS’s apparent

inconsistency, it would be irrelevant because the agency did not provide any such

explanation or justification in the Federal Register. See SEC v. Chenery Corp., 318

U.S. 80, 87 (1943) (“The grounds upon which an administrative order must be judged

are those upon which the record discloses that its action was based.”).

      149.   Plaintiff has no adequate or available administrative remedy, or, in the

alternative, any effort to obtain an administrative remedy would be futile.

      150.   Plaintiff has no adequate remedy at law.

      151.   Absent injunctive, declaratory, and vacation relief against the SOGI

Rule, Plaintiff has been and will continue to be harmed.

                                COUNT V
             Violation of the Administrative Procedure Act
               Arbitrary and Capricious Agency Action

      152.   Plaintiff incorporates by reference all other paragraphs.

      153.   The SOGI Rule is arbitrary and capricious because HHS failed to

account for important considerations before adopting it. Michigan v. EPA, 135 S. Ct.




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2699, 2706 (2015) (“[A]gency action is lawful only if it rests ‘on a consideration of the

relevant factors.’”).

        154.    HHS’s consideration of the SOGI Rule was cursory. It did not analyze

factors relevant to the policy decision it was making.

        155.    Remarkably, HHS did not consider whether the SOGI Rule would be

good or bad for children in foster care. It did not analyze whether the SOGI Rule

would decrease the quantity or quality of child placing agencies by driving away non-

compliant organizations. See 81 Fed. Reg. 89,393; 81 Fed. Reg. 45,270.

        156.    HHS itself acknowledges that its foster care program is designed “to

provide safe and stable out-of-home care for children.” 9 At all points during the foster

care process, decisions are supposed to be made based on the child’s welfare. See, e.g.,

42 U.S.C. § 672(a)(2)(A)(ii) (requiring “the removal and foster care placement” to be

“in accordance with … a judicial determination to the effect that continuation in the

home from which [the child was] removed would be contrary to the welfare of the

child”); 45 C.F.R. § 1355.25(a) (“The safety and well-being of children and of all family

members is paramount.”).

        157.    A rule governing foster care that fails to consider the best interests of

children in foster care is not the result of “reasoned decisionmaking.” Michigan, 135

S. Ct. at 2706.

        158.    HHS also did not consider the religious-liberty interests of individuals

and organizations who serve foster children. See 81 Fed. Reg. 89,393; 81 Fed. Reg.


        9  HHS      Children’s    Bureau,     Title    IV-E    Foster      Care    (May      17,   2012),
https://www.acf.hhs.gov/cb/grant-funding/title-iv-e-foster-care (last visited Dec. 9, 2022).


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45,270. Religious liberty is vitally important, both under federal and state law and

as a policy matter. Indeed, HHS itself has been charged with enforcing statutory

protections for religious liberty. 10 In this context, HHS’s failure to even consider

religious liberty as a factor means it did not engage in “reasoned decisionmaking.”

Michigan, 135 S. Ct. at 2706.

       159.    For these and other reasons, it should have been obvious to HHS that

the SOGI Rule would be controversial. But HHS professed a belief that it would be

“non-controversial.” 81 Fed. Reg. 45,271. That reflects a lack of serious consideration

by HHS.

                            COUNT VI
     Violation of the Spending Clause of the U.S. Constitution
                   Clear-Statement Requirement

       160.    Plaintiff incorporates by reference all other paragraphs.

       161.    Article I, Section 8 of the United States Constitution—the Spending

Clause—provides: “The Congress shall have Power To lay and collect Taxes, Duties,

Imposts and Excises, to pay the Debts and provide for the common Defence and

general Welfare of the United States; but all Duties, Imposts and Excises shall be

uniform throughout the United States.” U.S. Const. art. I, § 8, cl. 1.

       162.    When Congress exercises its Spending Clause power against the States,

any conditions on federal funds given to States must enable a state official to “clearly

understand,” from the language of the law itself, what conditions the State is agreeing




       10  HHS Office of Civil Rights, Laws and Regulations Enforced by OCR,
https://www.hhs.gov/civil-rights/for-providers/laws-regulations-guidance/laws/index.html (last visited
Dec. 9, 2022).


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to when accepting the federal funds. Arlington Cent. Sch. Bd. of Educ. v. Murphy,

548 U.S. 291, 296 (2006). “The legitimacy of Congress’s exercise of the spending

power ‘thus rests on whether the State voluntarily and knowingly accepts the terms

of the “contract.”’” NFIB, 567 U.S. at 577 (quoting Pennhurst State Sch. & Hosp. v.

Halderman, 451 U.S. 1, 17 (1981)). The SOGI Rule, promulgated well after Texas

started accepting Title IV-E funding, is not in accord with the understanding that

existed at that earlier time. See Bennett v. New Jersey, 470 U.S. 632, 638 (1985)

(explaining “that changes in substantive requirements for federal grants should not

be presumed to operate retroactively”).

      163.   In Title IV-E, Congress did not impose any anti-discrimination

requirements related to religion, sexual orientation, gender identity, or same-sex

marriage status.

      164.   Thus, no State could fathom, much less “clearly understand,” that Title

IV-E would impose on it the conditions created by the SOGI Rule.

      165.   The SOGI Rule itself cannot satisfy the clear-statement requirement

because only Congress can impose conditions on federal spending programs. See

Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981) (“insisting that

Congress speak with a clear voice”) (emphasis added). But even if Congress could

authorize federal agencies to impose additional requirements, it would have to do so

clearly. Here, Congress did not clearly authorize HHS to impose additional

requirements on Title IV-E funding.




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      166.      Moreover, the SOGI Rule itself is unclear. Plaintiff believes the SOGI

Rule does not apply to its contractors, but even if the Court disagrees, the SOGI Rule

does not clearly apply to contractors. Nor does it clearly require DFPS to require that

contractors comply with the SOGI Rule.

      167.      The SOGI Rule violates the Spending Clause of the United States

Constitution.

      168.      Plaintiff has no adequate or available administrative remedy, or, in the

alternative, any effort to obtain an administrative remedy would be futile.

      169.      Plaintiff has no adequate remedy at law.

      170.      Absent injunctive, declaratory, and vacation relief against the SOGI

Rule, Plaintiff has been and will continue to be harmed.

                           COUNT VII
     Violation of the Spending Clause of the U.S. Constitution
                             Coercion

      171.      Plaintiff incorporates by reference all other paragraphs.

      172.      The federal government cannot use its Spending Clause power to coerce

the States, even when it follows proper notice procedures.

      173.      Even if a law otherwise satisfies the requirements of the Spending

Clause, it is still unconstitutional if it amounts to coercion or compulsion. See Dole,

483 U.S. at 211 (“Our decisions have recognized that in some circumstances the

financial inducement offered by Congress might be so coercive as to pass the point at

which ‘pressure turns into compulsion.’” (quoting Steward Mach. Co. v. Davis, 301

U.S. 548, 590 (1937))). Congress may “not us[e] financial inducements to exert a

‘power akin to undue influence.’” NFIB, 567 U.S. at 577 (plurality op.) (quoting

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Steward Mach. Co., 301 U.S. at 590). There is a crucial constitutional line “between

duress and inducement.” Steward Mach. Co., 301 U.S. at 586.

      174.   The SOGI Rule is coercive. The SOGI Rule imposes new conditions on

the continued receipt of all funds under Title IV-E. The ability of Texas to care for

its many foster children strongly depends on Title IV-E funds, as it has for many

years. The amount of that funding is substantial. Were Defendants to strip that

funding, the results would impose extreme hardship on Texas children by denying

them access to badly needed foster care services.

      175.   Given these circumstances, the SOGI Rule hardly provides Plaintiff

with “a legitimate choice.” NFIB, 567 U.S. at 578. Instead, it constitutes a “threat”

whose object is to compel Plaintiff to implement new policies. Id. at 580.

      176.   The Supreme Court found unconstitutional an attempt to coerce States

under the Affordable Care Act because “such conditions take the form of threats to

terminate other significant independent grants,” and are therefore “properly viewed

as a means of pressuring the States to accept policy changes.” Id.

      177.   Defendants’ actions and the SOGI Rule violate the Spending Clause of

the United States Constitution.

      178.   Plaintiff has no adequate or available administrative remedy, or, in the

alternative, any effort to obtain an administrative remedy would be futile.

      179.   Plaintiff has no adequate remedy at law.

      180.   Absent injunctive, declaratory, and vacation relief against the SOGI

Rule, Plaintiff has been and will continue to be harmed.



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                           COUNT VIII
     Violation of the Spending Clause of the U.S. Constitution
                         General Welfare

      181.   Plaintiff incorporates by reference all other paragraphs.

      182.   Any “exercise of the spending power must be in pursuit of ‘the general

welfare.’” Dole, 483 U.S. at 207. “It is for Congress to decide which expenditures will

promote the general welfare.” Buckley v. Valeo, 424 U.S. 1, 90 (1976). And when

Congress makes a decision, “courts should defer substantially to the judgment of

Congress.” Dole, 483 U.S. at 207. “The discretion belongs to Congress, unless the

choice is clearly wrong, a display of arbitrary power, not an exercise of judgment.”

Helvering v. Davis, 301 U.S. 619, 640 (1937).

      183.   But in this case, Congress has not decided that the SOGI Rule, or

anything like it, promotes the general welfare. Congress has not exercised its

judgment, except insofar as it has rejected legislative proposals similar to the SOGI

Rule and has limited Plaintiff’s anti-discrimination obligations to the ones listed in

statute.

      184.   Because the power to “attach conditions on the receipt of federal funds”

is “[i]ncident to” Congress’s power under the Spending Clause, Dole, 483 U.S. at 206,

it is subject to the limitations placed on the spending power. Thus, only Congress can

impose spending conditions.

      185.   In promulgating the SOGI Rule, Defendants did not—and did not

purport to—follow a statutory funding condition set by Congress. Instead, they relied

on the Housekeeping Statute, which provides no substantive guidance. Thus,

Defendants, not Congress, imposed the SOGI Rule as a spending condition.

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       186.    In these circumstances, there is no reason for the Court to defer to

Defendants’ understanding of the “general Welfare.” U.S. Const. art. I, § 8.

       187.    The SOGI Rule in fact does not provide for the general welfare. It is

contrary to the general welfare because it would prevent Plaintiff from maintaining “a

diverse network of service providers” crucial to the foster care system. Tex. Hum. Res.

Code § 45.001. Regardless, that determination was not for Defendants to make.

       188.    Plaintiff has no adequate or available administrative remedy, or, in the

alternative, any effort to obtain an administrative remedy would be futile.

       189.    Plaintiff has no adequate remedy at law.

       190.    Absent injunctive, declaratory, and vacation relief against the SOGI

Rule, Plaintiff has been and will continue to be harmed.

                               COUNT IX
       Violation of Article I, Section 1 of the U.S. Constitution
                            Non-Delegation
       191.    Plaintiff incorporates by reference all other paragraphs.

       192.    If—contrary to Plaintiff’s allegations above—the Housekeeping Statute

authorizes HHS to regulate Plaintiff through the SOGI Rule, it does so without

providing an “intelligible principle.” Gundy v. United States, 139 S. Ct. 2116, 2129

(2019) (plurality). The Housekeeping Statute does not guide HHS’s discretion at all.

       193.    The Housekeeping Statute passes constitutional muster insofar as it

authorizes “rules of agency organization[,] procedure[,] or practice.” Chrysler Corp.,

441 U.S. at 310. It is presumably “necessary and proper for carrying into Execution”

“[t]he executive Power” vested in the President and delegated to his subordinates.

U.S. Const. art. I, § 8, art. II, § 1.


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       194.    But insofar as the Housekeeping Statute authorizes substantive rules

regulating Plaintiff and conditioning federal funds, it impermissibly delegates

legislative power to executive branch officials.

       195.    Because the Housekeeping Statute does not provide an intelligible

principle, it cannot authorize the SOGI Rule.

       196.    The SOGI Rule violates the Legislative Vesting Clause. See U.S. Const.

art. I, § 1.

       197.    Plaintiff has no adequate or available administrative remedy, or, in the

alternative, any effort to obtain an administrative remedy would be futile.

       198.    Plaintiff has no adequate remedy at law.

       199.    Absent injunctive, declaratory, and vacation relief against the SOGI

Rule, Plaintiff has been and will continue to be harmed.

                             DEMAND FOR RELIEF

       Wherefore, Plaintiff respectfully requests the Court:

       a.      Declare that the SOGI Rule does not apply to child placing agencies in
               Texas;

       b.      Declare that the SOGI Rule does not support reducing or eliminating
               Plaintiff’s federal funding;

       c.      Declare that the SOGI Rule is invalid under the Administrative
               Procedure Act;

       d.      Declare that the SOGI Rule is invalid under the United States
               Constitution;

       e.      Hold unlawful and set aside, i.e., vacate, the SOGI Rule;

       f.      Issue permanent injunctive relief enjoining Defendants from enforcing
               the SOGI Rule;

       g.      Award such other and further relief as it deems equitable and just.

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Dated: December 12, 2022           Respectfully submitted,

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